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                                                                     **E-filed 5/3/06**
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2
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8    Attorneys for Plaintiff
9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                            SAN JOSE DIVISION
12
13
     UNITED STATES OF AMERICA,                   )       No. CR 05-00516-JF
14                                               )
                               Plaintiff,        )
15                                               )       STIPULATION AND ORDER
                      v.                         )       RE-SCHEDULING SENTENCING
16                                               )       HEARING
     EMILY TREVETHAN,                            )
17                                               )
                               Defendant.        )
18                                               )
19
20           IT IS HEREBY STIPULATED between the parties and based upon such stipulation it is
21   hereby ordered, that the defendant’s sentencing hearing, currently scheduled for Wednesday, May
22   3, 2006 at 9:00 a.m., be vacated and a new sentencing hearing date of Wednesday, August 2,
23   2006 at 9:00 a.m. is hereby set.
24   It is so stipulated.
25                                                              /s/
     Dated: May 2, 2006                                  ______________________________
26                                                       JOHN N. GLANG
                                                         Assistant U.S. Attorney
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28

     STIPULATION AND ORDER RESCHEDULING SENTENCING HEARING
     CR 05-00516-JF
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1    It is so stipulated:
                                                                /s/
2    Dated: May 2, 2006                                  _______________________________
                                                         SCOTT H. FREWING, ESQ.
3                                                        Attorney for Emily Trevethan
4
5    It is so ORDERED:
                5/3/06
6    Dated: ________________                             ________________________________
                                                         JEREMY FOGEL
7                                                        United States District Judge
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     STIPULATION AND ORDER RESCHEDULING SENTENCING HEARING
     CR 05-00516-JF                                  2
